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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 Monique Spencer a/k/a Monique Newton, individually and
 on behalf of all others similarly situated,                            Civil Action No:
                                           Plaintiff,
                                                                         CLASS ACTION COMPLAINT

                                                                          DEMAND FOR JURY TRIAL




        -v.-
 FEDChex Recovery LLC and
 John Does 1-25,

                                       Defendants.


Plaintiff Monique Spencer a/k/a Monique Newton (hereinafter, “Plaintiff” or “Spencer”), a Texas

resident, brings this Class Action Complaint by and through her attorneys, The Law Office of

Jonathan Kandelshein, against Defendant FEDChex Recovery LLC (hereinafter “Defendant” or

“FEDChex”) individually and on behalf of a class of all others similarly situated, pursuant to Rule

23 of the Federal Rules of Civil Procedure, based upon information and belief of Plaintiff’s counsel,

except for allegations specifically pertaining to Plaintiff, which are based upon Plaintiff's personal

knowledge.



                      INTRODUCTION/PRELIMINARY STATEMENT

       1.      Congress enacted the FDCPA in 1977 in response to the "abundant evidence of the

   use of abusive, deceptive, and unfair debt collection practices by many debt collectors." 15

   U.S.C. §1692(a). At that time, Congress was concerned that "abusive debt collection practices

   contribute to the number of personal bankruptcies, to material instability, to the loss of jobs, and

                                                                                                     1
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to invasions of individual privacy." Id. Congress concluded that "existing laws…[we]re

inadequate to protect consumers," and that "'the effective collection of debts" does not require

"misrepresentation or other abusive debt collection practices." 15 U.S.C. §§ 1692(b) & (c).

   2.      Congress explained that the purpose of the Act was not only to eliminate abusive

debt collection practices, but also to "insure that those debt collectors who refrain from using

abusive debt collection practices are not competitively disadvantaged." ld. § 1692(e). After

determining that the existing consumer protection laws ·were inadequate~ id § l692(b), Congress

gave consumers a private cause of action against debt collectors who fail to comply with the

Act. Id. § 1692k.

                               JURISDICTION AND VENUE

   3.      The Court has jurisdiction over this class action pursuant to 28 U.S.C. § 1331, as

well as 15 U.S.C. § 1692 et. seq. The Court also has pendent jurisdiction over the State law

claims in this action pursuant to 28 U.S.C. § 1367(a).

   4.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2) as this is

where a substantial part of the events or omissions giving rise to the claim occurred.

                                  NATURE OF THE ACTION

   5.      Plaintiff brings this class action on behalf of a class of Texas consumers under § 1692

et seq. of Title 15 of the United States Code, commonly referred to as the Fair Debt Collections

Practices Act ("FDCPA"), and

   6.      Plaintiff is seeking damages and declaratory and injunctive relief.

                                           PARTIES

   7.      Plaintiff is a resident of the State of Texas, County of Harris, residing at 13159

Withee Path Lane, Houston, TX 77048.
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   8.       Defendant FEDChex Recovery LLC is a "debt collector" as the phrase is defined in

15 U.S.C. § 1692(a)(6) and used in the FDCPA with an address at 2 Venture Ste 300, Irvine,

CA 92618.

   9.       Upon information and belief, Defendant is a company that uses the mail, telephone,

and facsimile and regularly engages in business the principal purpose of which is to attempt to

collect debts alleged to be due another.

   10.      Defendant is a "debt collector", as defined under the FDCPA under 15 U.S.C. §

1692a(6).

   11.      John Does l-25, are fictitious names of individuals and businesses alleged for the

purpose of substituting names of Defendants whose identities will be disclosed in discovery and

should be made parties to this action.

                                     CLASS ALLEGATIONS

   12.      Plaintiffs bring this claim on behalf of the following case, pursuant to Fed. R. Civ.

P. 23(a) and 23(b)(3).

   13.      The Class consists of:

            a. all individuals with addresses in the State of Texas;

            b. to whom FEDChex Recovery, LLC sent an initial collection letter attempting to

               collect a consumer debt;

            c. regarding collection of a consumer debt;

            d. that improperly and deceptively charged a collection fee to the consumer which

               was not authorized by the agreement creating the debt or permitted by law;

            e. which letter was sent on or after a date one (1) year prior to the filing of this

               action and on or before a date twenty-one (2l) days after the filing of this action.
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   14.      The identities of all class members are readily ascertainable from the records of

Defendants and those companies and entities on whose behalf they attempt to collect and/or

have purchased debts.

   15.      Excluded from the Plaintiff Classes are the Defendants and all officer, members,

partners, managers, directors and employees of the Defendants and their respective immediate

families, and legal counsel for all parties to this action, and all members of their immediate

families.

   16.      There are questions of law and fact common to the Plaintiff Classes, which common

issues predominate over any issues involving only individual class members. The principal issue

is whether the Defendants' written communications to consumers, in the forms attached as

Exhibit “A”, violate 15 U.S.C. §§ l692e and 1692f.

   17.      The Plaintiffs' claims are typical of the class members, as all are based upon the same

facts and legal theories. The Plaintiffs will fairly and adequately protect the interests of the

Plaintiff Classes defined in this complaint. The Plaintiffs have retained counsel with experience

in handling consumer lawsuits, complex legal issues, and class actions, and neither the Plaintiffs

nor their attorneys have any interests, which might cause them not to vigorously pursue this

action.

   18.      This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a

well-defined community interest in the litigation:

            a. Numerosity: The Plaintiffs are informed and believe, and on that basis allege,

               that the Plaintiff Classes defined above are so numerous that joinder of all

               members would be impractical.
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          b. Common Questions Predominate: Common questions of law and fact exist as

              to all members of the Plaintiff Classes and those questions predominance over

              any questions or issues involving only individual class members. The principal

              issue is whether the Defendants' written communications to consumers, in the

              forms attached as Exhibit A violate 15 § l692e and §1692f.

          c. Typicality: The Plaintiff’s claims are typical of the claims of the class members.

              The Plaintiffs and all members of the Plaintiff Classes have claims arising out of

              the Defendants' common uniform course of conduct complained of herein.

          d. Adequacy: The Plaintiffs will fairly and adequately protect the interests of the

              class members insofar as Plaintiffs have no interests that are adverse to the absent

              class members. The Plaintiffs are committed to vigorously litigating this matter.

              Plaintiffs have also retained counsel experienced in handling consumer lawsuits,

              complex legal issues, and class actions. Neither the Plaintiffs nor their counsel

              have any interests which might cause them not to vigorously pursue the instant

              class action lawsuit.

          e. Superiority: A class action is superior to the other available means for the fair

              and efficient adjudication of this controversy because individual joinder of all

              members would be impracticable. Class action treatment will permit a large

              number of similarly situated persons to prosecute their common claims in a single

              forum efficiently and without unnecessary duplication of effort and expense that

              individual actions would engender.

   19.    Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure

is also appropriate in that the questions of law and fact common to members of the Plaintiff
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Classes predominate over any questions affecting an individual member, and a class action is

superior to other available methods for the fair and efficient adjudication of the controversy.

   20.      Depending on the outcome of further investigation and discovery, Plaintiffs may, at

the time of class certification motion, seek to certify a class(es) only as to particular issues

pursuant to Fed. R. Civ. P. 23(c)(4).


                                   FACTUAL ALLEGATIONS

   21.      Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

numbered above herein with the same force and effect as if the same were set forth at length

herein.

   22.      Some time prior to December 29, 2016, an obligation was allegedly incurred to

Cengage Learning, Inc.

   23.      The Cengage Learning, Inc. obligation arose out of a transaction involving the rental

of educational textbooks in which money, property, insurance or services, which are the subject

of the transaction, are primarily for personal, family or household purposes.

   24.      The alleged Cengage Learning, Inc. obligation is a "debt" as defined by 15 U.S.C.§

1692a(5).

   25.      Cengage Learning, Inc. is a "creditor" as defined by 15 U.S.C.§ 1692a(4).

   26.      Cengage Learning, Inc. contracted the Defendant to collect the alleged debt.

   27.      Defendant collects and attempts to collect debts incurred or alleged to have been

incurred for personal, family or household purposes on behalf of creditors using the United

States Postal Services, telephone and internet.



                         Violation I – December 29, 2016 Collection Letter
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     28.     On or about December 29, 2016, Defendant sent the Plaintiff an initial collection

  letter (the “Letter”) regarding the alleged debt owed to Cengage Learning, Inc. See December

  29, 2016 Collection Letter – Attached hereto as Exhibit “A”.

     29.     The Letter included collection costs equaling approximately 26% of the total debt.

     30.     The account has a principal balance of $117.41, and Defendant has added

  collection costs of $30.00, approximately 26% of the total debt.

     31.     Plaintiff did not agree to such a collection charge, and the 26% collection fee far

  exceeds any reasonable costs of collection for this account.

     32.     The addition of this collection fee by Defendant is not authorized by the agreement

  creating the debt or permitted by law.

     33.     The addition of this collection fee is an attempt to collect an amount not owed by

  Plaintiff and a violation of numerous provisions of the FDCPA including, but not limited to, 15

  U.S.C. §§ 1692e, 1692e(5), 1692e(10), 1692f and 1692f(1). See Kojetin v. CU Recovery, Inc.,

  212 F.3d 1318 (8th Cir. 2000) (“Contrary to [the Collector’s] view, we agree with the district

  court’s conclusion that [the Collector] violated the FDCPA when it charged Kojetin a collection

  fee based on a percentage of the principal balance that remained due rather than the actual cost

  of the collection”).

     34.     Defendant’s Letter places Plaintiff at an imminent risk of harm because, were she to

  accept Defendant’s false charge, she would pay a greater amount than she actually owes.

     35.     As a result of Defendant’s deceptive misleading and false debt collection practices,

  Plaintiff has been damaged.

                             COUNT I
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C. §1692e
                               et seq.
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   36.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

above herein with the same force and effect as if the same were set forth at length herein.

   37.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692e.

   38.     Pursuant to 15 U.S.C. §1692e, a debt collector may not use any false, deceptive, or

misleading representation or means in connection with the collection of any debt.

   39.     Defendant violated said section by:


           a.   Threatening to take an action that cannot legally be taken in violation of

   §1692e(5); and


           b. Making a false and misleading representation in violation of §1692e(10).


   40.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

conduct violated Section 1692e et seq. of the FDCPA, actual damages, statutory damages, costs

and attorneys’ fees.


                               COUNT II
    VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT 15 U.S.C.
                              §1692f et seq.

   41.     Plaintiff repeats, reiterates and incorporates the allegations contained in paragraphs

above herein with the same force and effect as if the same were set forth at length herein.

   42.     Defendant’s debt collection efforts attempted and/or directed towards the Plaintiff

violated various provisions of the FDCPA, including but not limited to 15 U.S.C. § 1692f.

   43.     Pursuant to 15 U.S.C. §1692f, a debt collector may not use any unfair or

unconscionable means in connection with the collection of any debt.
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    44.     Pursuant to 15 U.S.C. §1692f(1), a debt collector may not collect any amount

(including interest, fee, charge, or expense incidental to the principal obligation) unless such

amount is expressly authorized by the agreement creating the debt or permitted by law.

    45.     Defendant violated this section by unfairly and falsely charging Plaintiff an amount

in excess of the debt allegedly owed. Defendant charged Plaintiff a 26% collection fee which

was neither authorized by the underlying creditor agreement nor permitted by law.

    46.     By reason thereof, Defendant is liable to Plaintiff for judgment that Defendant's

conduct violated Section 1692f et seq. of the FDCPA, actual damages, statutory damages, costs

and attorneys’ fees.


                                  DEMAND FOR TRIAL BY JURY


    47.     Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby requests

a trial by jury on all issues so triable.




                                      PRAYER FOR RELIEF

    WHEREFORE, Plaintiff Monique Spencer, individually and on behalf of all others

similarly situated demands judgment from Defendant FEDChex Recovery, LLC as follows:


    1.      Declaring that this action is properly maintainable as a Class Action and certifying

Plaintiff as Class representative, and Jonathan Kandelshein, Esq. as Class Counsel;

    2.      Awarding Plaintiff and the Class statutory damages;

    3.      Awarding Plaintiff and the Class actual damages;
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   4.       Awarding Plaintiff costs of this Action, including reasonable attorneys’ fees and

expenses;

   5.       Awarding pre-judgment interest and post-judgment interest; and

   6.       Awarding Plaintiff and the Class such other and further relief as this Court may deem

just and proper.


   Dated: December 21, 2017

                                                         /s/ Jonathan Kandelshein
                                                         By: Jonathan Kandelshein, Esq.
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